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                       UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

RETHINK35, SAVE OUR SPRINGS
ALLIANCE, AUSTIN JUSTICE COALITION,
PEOPLE ORGANIZED IN DEFENSE OF
EARTH AND HER RESOURCES (PODER),
DOWNTOWN AUSTIN NEIGHBORHOOD        Case No. 1:24-cv-00092
ASSOCIATION, PARENTS’ CLIMATE
COMMUNITY, EAST TOWN LAKE CITIZENS
NEIGHBORHOOD ASSOCIATION,           STIPULATED DISMISSAL
SOUTHEAST AUSTIN NEIGHBORS AND
RESIDENTS ORGANIZED FOR
ENVIRONMENTAL JUSTICE (SANAR),
HANCOCK NEIGHBORHOOD
ASSOCIATION, MUELLER NEIGHBORHOOD
ASSOCIATION, FRIENDS OF AUSTIN
NEIGHBORHOODS, FRIENDS OF HYDE
PARK, SUNRISE MOVEMENT AUSTIN,
ENVIRONMENT TEXAS, TEXAS PUBLIC
INFORMATION RESEARCH GROUP, and
CELIA ISRAEL,
                Plaintiffs,
       v.
TEXAS DEPARTMENT OF
TRANSPORTATION (TXDOT), MARC
WILLIAMS, in his official capacity as Executive
Director of TXDOT, UNITED STATES
DEPARTMENT OF TRANSPORTATION
(USDOT), PETE BUTTIGIEG, in his official
capacity as Secretary of USDOT, UNITED
STATES FEDERAL HIGHWAY
ADMINISTRATION (FHWA), and SHAILEN
BHATT, in his official capacity as Administrator
of FHWA,
                Defendants.



       Pursuant to Federal Rule of Civil Procedure 41, Plaintiffs Rethink35, Save Our Springs

Alliance, Austin Justice Coalition, People Organized in Defense of Earth and Her Resources

(PODER), Parents’ Climate Community, Downtown Austin Neighborhood Association (DANA),

East Town Lake Citizens NA, Southeast Austin Neighbors and Residents Organized for

Environmental Justice (SANAR), Hancock Neighborhood Association, Mueller Neighborhood
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Association, Friends of Austin Neighborhoods (FAN), Friends of Hyde Park, Sunrise Movement

Austin, Environment Texas, TexPIRG, and Celia Israel, (collectively, “Plaintiffs”) and

Defendants United States Department of Transportation (“USDOT”), and Secretary Pete

Buttigieg in his official capacity as Secretary of the USDOT (collectively, “USDOT

Defendants”); the United States Federal Highway Administration (“FHWA”), and Shailen Bhatt

in his official capacity as Administrator of the FHWA (collectively, “FHWA Defendants”); and

the Texas Department Of Transportation (“TxDOT”); stipulate to the dismissal of all claims

against the USDOT Defendants and FHWA Defendants as follows:

       WHEREAS Plaintiffs filed their Complaint on January 26, 2024, challenging TxDOT’s

August 18, 2023 Final Environmental Impact Statement (“FEIS”) and Record of Decision

(“ROD”) approving the I-35 Capital Express Central Project from US 290 East to US 290

West/SH71 (the “Project”);

       WHEREAS TxDOT completed a Draft Environmental Impact Statement (“DEIS”) dated

December 2022 to evaluate the environmental impacts of alternatives considered to meet the

purpose and need of the Project;

       WHEREAS TxDOT participates in the Surface Transportation Project Delivery Program

(a.k.a. “NEPA Assignment Program”) pursuant to 23 U.S.C. § 327, and the TxDOT and FHWA

executed a memorandum of understanding (“MOU”) on December 9, 2014, which was renewed

on December 9, 2019, under 23 U.S.C. 327(b)(4)(C) and (c);

       WHEREAS the MOU provides that the FHWA assigns, and TxDOT assumes, the

USDOT’s responsibilities and liabilities for the environmental review, consultation and other

actions required under the National Environmental Policy Act, 42 U.S.C. § 4321 et seq.




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(“NEPA”) and other Federal environmental laws listed therein, without further approval of the

FHWA or the USDOT, for all “highway projects” defined in the MOU;

        WHEREAS the Project is one such “highway project” for which TxDOT has assumed

total responsibility and liability;

        THEREFORE, the parties stipulate as follows:

        1. TxDOT is solely responsible and liable for NEPA compliance of the Project without

            further approval of FHWA, pursuant to the MOU and 23 U.S.C. § 327.

        2. The USDOT Defendants and the FHWA Defendants are not necessary parties to this

            litigation under Federal Rule of Civil Procedure 19.

        3. The claims against the USDOT Defendants and the FHWA Defendants, including

            those brought under the Administrative Procedure Act, 5 U.S.C. § 706(2), the

            National Environmental Policy Act 42 U.S.C. § 4321 et seq., and Section 6(f) of the

            Land and Water Conservation Fund (“LWCF”) Act are dismissed without prejudice.

        4. Nothing in this Stipulated Dismissal shall be construed to deprive a federal official of

            authority to revise, amend or promulgate regulations, or issue final decisions related

            to the Project. Nothing in this Stipulated Dismissal is intended to or shall be

            construed to waive any obligation to exhaust administrative remedies; to constitute an

            independent waiver of the United States’ sovereign immunity; to change the standard

            of judicial review of federal agency actions under the Administrative Procedure Act, 5

            U.S.C. §§ 701-06; or to otherwise extend or grant this Court jurisdiction to hear any

            matter.



        Respectfully submitted this 12th day of April, 2024.



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                                CERTIFICATE OF SERVICE



       I hereby certify that on April 12, 2024, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, which will automatically notify via email all
counsel of record.




                                             _________________________
                                             Nuria de la Fuente
